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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                  CASE NO: 2:13-cr-128-FtM-38UAM

VERONICA GALDAMEZ REYES


                                          ORDER

       This matter comes before the Court on Waiver of Pre-Sentence Investigation Report

(Doc. #83) filed on January 4, 2013.      Defense Counsel moves the Court to waive the

preparation of a Presentence Investigation Report (PSR) and expedite sentencing.           As

grounds, Counsel indicates that Defendant has been incarcerated since August 9, 2013.

Based upon the sentencing recommendations, the Defendant may be sentenced to time

served. Thus, in order to expedite sentencing, Defense Counsel seeks to waive the PSR

requirement and set the case for sentencing as soon as possible.          The Court, having

reviewed the motion, is not inclined to waive the PSR requirement as it is a vital compilation

of information useful to the Court in sentencing Defendants.       The Court will, however,

consider an expedited scheduling of the sentencing hearing once Probation has prepared

the PSR. Accordingly, it is now

       ORDERED:

       The Waiver of Pre-Sentence Investigation Report (Doc. #83) is DENIED.

       DONE AND ORDERED at Fort Myers, Florida, this January 7, 2014.




Copies: Counsel of Record
